






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-04-00223-CV






Denne A. Sweeney and Texas Division, Sons of Confederate Veterans, Inc., Appellants


v.


Wallace Jefferson, in his Administrative Capacity; Rick Perry, in his Official Capacity as

Governor of the State of Texas; and Edward Johnson, in his Official

Capacity as Executive Director of the Texas Building

and Procurement Commission, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. GN001678, HONORABLE PAUL DAVIS, JUDGE PRESIDING





O P I N I O N




	This is an appeal from the district court's order of dismissal for want of jurisdiction. 
Appellants Denne A. Sweeney (1) and the Texas Division, Sons of Confederate Veterans, Inc., (2) filed
suit against appellees (3) seeking declaratory and injunctive relief regarding the removal of two plaques
that previously hung in the lobby of the Supreme Court Building.  Agreeing with appellees'
argument that it lacked subject-matter jurisdiction over the Confederate Veterans' claims, the district
court granted appellees' plea to the jurisdiction and entered an order dismissing the case.  Because
we hold that the district court had jurisdiction to consider the Confederate Veterans' claims, we
reverse the order of dismissal and remand to the district court for further proceedings.


FACTS AND PROCEDURAL BACKGROUND


	The Texas Supreme Court Building was completed in 1957.  Shortly thereafter two
plaques were installed in the building lobby to commemorate and dedicate the building to Texas
veterans who served in the Confederacy.  These plaques were installed pursuant to a 1953
amendment to the Texas Constitution, which created the State Building Commission and transferred
excess funds from the Confederate Pension Fund to the State Building Fund.  See Act of Apr. 30,
1953, 53d Leg., R.S., 1953 Tex. Gen. Laws 1172, 1172-73.  One of these plaques contained the seal
of the Confederate States of America and the phrase "Dedicated to Texans who served the
Confederacy." (4)  The other plaque contained a raised relief image of a waving confederate flag and
the following quote from Confederate General Robert E. Lee: " I rely upon Texas regiments in all
tight places, and I fear I have to call upon them too often.  They have fought grandly, nobly." (5)  

	In 2000, acting upon a "routine maintenance request" issued at the direction of the 
appellees, the Building and Procurement Commission (6) removed these two plaques and installed two
new plaques in their place.  The first of these new plaques states: "The courts of Texas are entrusted
with providing equal justice under the law to persons, regardless of race, creed, or color."  The
second plaque states: "Because this building was built with monies from the Confederate Pension
Fund, it was, at that time, designated as a memorial to the Texans who served the Confederacy."

	It is undisputed that no one, including appellees, sought the approval of the Texas
Historical Commission, or any other state agency, prior to the removal of the original plaques and
the installation of the new plaques.  Nor did appellees give notice or hold a public hearing before
removing the original plaques and installing the new plaques.

	After the new plaques were installed, the Confederate Veterans filed suit in the Travis
County district court challenging both the removal of the original plaques and the installation of the
new plaques.  In their third amended petition, the Confederate Veterans alleged that the appellees
had acted unlawfully and asserted jurisdiction under the Texas Constitution, Chapter 37 of the Texas
Civil Practice and Remedies Code, Chapter 191 of the Texas Natural Resources Code, Chapters 551
and 2166 of the Texas Government Code, and Titles 1 and 13 of the Texas Administrative Code. 
See Tex. Const. art. V, §&nbsp;8; Tex. Civ. Prac. &amp; Rem. Code Ann. §§&nbsp;37.001-.009 (West 1997); Tex.
Nat. Res. Code. Ann. §§&nbsp;191.002, .051, .092, .093, .097, .132(b), .173(a) (West 2001); Tex. Gov't
Code Ann. §§&nbsp;551.002, .141 (West 2004), §§&nbsp;2166.501, .5011 (West 2000 &amp; Supp. 2005); 1 Tex.
Admin. Code §§&nbsp;111.1(b)-(c), 116.3(d) (West 2004); 13 Tex. Admin. Code §&nbsp;26.5(6)(B)(ix) (West
2004).  The Confederate Veterans sought declaratory and injunctive relief as follows:


1.	A declaration that the removal of the plaques from the Texas Supreme Court
building, as set forth hereinabove, is a violation of the Texas Constitution.


2.	A declaration that the plaques which replaced them do not comply with the
Constitutional mandate that the Texas Supreme Court building be dedicated to
the memory of Confederate Texans.


3.	A declaration that the removal of the original plaques from the Texas Supreme
Court building, as set forth hereinabove, is a violation of the Texas Antiquities
Code, The Texas Administrative Code and the Texas Government Code, in that
the removal (and replacement) was done without constitutional/statutory/lawful
authority.


4.	An order directing the protection, return and re-installation of the original plaques
to their original site in the Texas Supreme Court building.


5.	In the alternative without waiving any of the foregoing, that if this Honorable
Court believes it lacks authority to remove the new replacement plaques from
their location at the site of the original plaques, an order directing the protection,
return and re-installation of the original plaques on the column immediately in
front of the new replacement plaques so that the original plaques are facing the
front or east door of the Supreme Court building.


6.	In the alternative without waiving any of the foregoing, that upon the Court
declaring that the removal (and replacement) of the original plaques was done
without constitutional/statutory/lawful authority that the Court will direct the
Plaintiff to seek the removal of the new replacement plaques and re-installation
of the original plaques through the Texas Historical Commission.


7.	Attorney's fees and costs, as provided by Tex. Civ. Prac. &amp; Rem. Code Ann.
§&nbsp;37.009, and §&nbsp;191.73 of the Texas Antiquities Code; and


8.	Such other and further relief, general or special, in law or in equity, to which the
Plaintiffs may show itself to be justly entitled.


	The appellees answered and filed a plea to the jurisdiction on the ground that the trial
court lacked authority to award the relief sought by the Confederate Veterans.  Appellees' argument
was two-fold: (1) the Confederate Veterans' requests for declaratory relief under the Uniform
Declaratory Judgments Act do not confer jurisdiction on the district court; and (2) the district court
lacked jurisdiction to award the relief sought by the Confederate Veterans--namely, removal of the
new plaques and re-installation of the old plaques.  The district court granted appellees' plea to the
jurisdiction in part finding "the Court lacks jurisdiction over any of Plaintiff's claims requesting this
Court to order state officials to remove/re-install any plaques made the subject of this suit.  The
Court finds that it has jurisdiction regarding the remaining claims."

	After the district court denied the Confederate Veterans' motion to reconsider this
order, the Confederate Veterans amended their pleadings and filed their fourth amended petition
alleging jurisdiction under the Texas Constitution, Chapters 442, 551, 2165, and 2166 of the Texas
Government Code, Chapter 191 of the Texas Natural Resources Code, the Texas Civil Practices and
Remedies Code, and Titles 1 and 13 of the Texas Administrative Code.  See Tex. Const. art. V, §&nbsp;8;
Tex. Gov't Code Ann. §§&nbsp;442.006, .012, 551.002, .141 (West 2004), §§&nbsp;2165.255, 2166.501, .5011
(West 2000 &amp; Supp. 2005); Tex. Civ. Prac. &amp; Rem. Code Ann. §§&nbsp;37.001-.009; Tex. Nat. Res.
Code. Ann. §§&nbsp;191.002, .051, .092, .093, .097, .132(b), .173(a); 1 Tex. Admin. Code §§&nbsp;111.1(b)-(c),
116.3(d); 13 Tex. Admin. Code §&nbsp;26.5(6)(B)(ix).  The Confederate Veterans amended their requests
for declaratory and injunctive relief as follows:


	Plaintiffs ask for a Declaratory Judgment that the Defendants and their
predecessors have engaged in violations of the Texas Constitution and the state
statutes enumerated herein.  Defendants ask for an award of their costs, including
reasonable and necessary trial and appellate attorneys' fees of not more than
$75,000.00.


	Under the Court's inherent injunctive powers granted by the Texas
Constitution to restore in all cases the status quo ante to any violation of the
Constitution or state law, Plaintiffs ask the Court to issue a mandatory injunction
compelling the Defendants to remove the second New Plaque and to re-install the
Original Plaques to the general location in the building lobby where they originally
stood.  Plaintiffs also assert that the Court holds this injunctive power under Section
442.012 of the Texas Government Code and Section 191.173 of the Texas Natural
Resources Code.


	Alternatively, this Court clearly has the power to enforce compliance with
Section 2166.5011 of the Texas Government Code.  Under that law, the Court should
order the Defendants to relocate the Original Markers, removed under a 'maintenance
work order' of the [General Services Commission] to a 'prominent position' in the
building under subsection (c) of the statute.


	Plaintiffs ask for such other relief to which they may be entitled under the
facts hereinabove alleged.



	In addition to their fourth amended petition, the Confederate Veterans filed a second
motion to reconsider and a motion for summary judgment.  In response, appellees filed a second plea
to the jurisdiction repeating their argument that the trial court lacked subject-matter jurisdiction over
the Confederate Veterans' claims.  Without specifying the grounds, the district court granted
appellees' second plea to the jurisdiction; denied the Confederate Veterans' pending motions as
moot; and dismissed this cause for lack of subject-matter jurisdiction.  This appeal followed.


DISCUSSION


	In three issues, the Confederate Veterans argue:  (1) the trial court erred in dismissing
this cause for want of jurisdiction; (2) the trial court erred in denying the Confederate Veterans'
motion to reconsider; and (3) the trial court erred in denying the Confederate Veterans' motion for
summary judgment.  Appellees respond that the trial court correctly granted appellees' plea to the
jurisdiction because the UDJA fails to confer jurisdiction over the Confederate Veterans' claims and
the district court lacked jurisdiction and authority to grant the relief sought by the Confederate
Veterans.  Appellees further maintain that this Court cannot consider the Confederate Veterans'
second and third issues because this Court lacks jurisdiction to consider appeals from interlocutory
orders of the trial court.


Standard of Review

	This case comes to us upon the trial court's dismissal for lack of subject-matter
jurisdiction.  Subject-matter jurisdiction is essential to the authority of a court to decide a case. 
Texas Ass'n of Bus. v. Texas Air Control Bd., 852 S.W.2d 440, 443 (Tex. 1993); Rylander v.
Caldwell, 23 S.W.3d 132, 135 (Tex. App.--Austin 2000, no pet.).  A plea to the jurisdiction
challenges the trial court's authority to hear and decide a specific cause of action.  Lukes v.
Employees Ret. Sys., 59 S.W.3d 838, 841 (Tex. App.--Austin 2001, no pet.).  To prevail on a plea
to the jurisdiction, the party challenging jurisdiction must show that even if all of the allegations in
the plaintiff's petition are taken as true, there is an incurable jurisdictional defect on the face of the
pleadings that deprives the trial court of jurisdiction to hear the case.  Rylander, 23 S.W.3d at 135.

	The existence of subject-matter jurisdiction is a question of law.  State Dep't of
Highways &amp; Pub. Transp. v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002). Therefore, we review de
novo the trial court's ruling on a plea to the jurisdiction.  Id.  When reviewing the trial court's order
of dismissal for lack of subject-matter jurisdiction, we do not consider the merits of the case, but
only the facts alleged in the pleadings and any evidence relevant to the jurisdictional inquiry. (7) 
County of Cameron v. Brown, 80 S.W.3d 549, 555 (Tex. 2002).  The plaintiff must allege facts that
affirmatively demonstrate the court's jurisdiction to hear the case.  Richardson v. First Nat'l Life Ins.
Co., 419 S.W.2d 836, 839 (Tex. 1967).  Unless the petition affirmatively demonstrates a lack of
jurisdiction, the trial court must construe the petition liberally in favor of jurisdiction.  Peek v.
Equipment Serv. Co., 779 S.W.2d 802, 804 (Tex. 1989); Texas Ass'n of Bus., 852 S.W.2d at 446. 
The court must accept the plaintiff's good faith jurisdictional allegations as true unless the defendant
pleads and proves that the allegations were fraudulently made to confer jurisdiction.  City of Austin
v. Ender, 30 S.W.3d 590, 593 (Tex. App.--Austin 2000, no pet.).  Appellees do not challenge the
truth of the Confederate Veterans' jurisdictional allegations.


Jurisdictional Allegations

	In their fourth amended petition, the Confederate Veterans bring eight separate causes
of action challenging the routine maintenance request removing the original plaques and installing
the new plaques.  The Confederate Veterans assert violations of the Texas Antiquities Code, (8)
Chapters 442, 551, 2165, and 2166 of the Texas Government Code, and the Texas Constitution.  See
Tex. Nat. Res. Code. Ann. §§&nbsp;191.002, .051, .092, .093, .097, .132(b), .173(a); Tex. Gov't Code
Ann. §§&nbsp;442.006, .012, 551.002, .141,&nbsp;2165.255, 2166.501, .5011; Tex. Const. art. V, §&nbsp;8.  The
Confederate Veterans also seek a declaratory judgment under Chapter 37 of the Texas Civil Practices
and Remedies Code and mandatory injunctive relief to restore the status quo ante. (9)  See Tex. Civ.
Prac. &amp; Rem. Code Ann. §§&nbsp;37.001-.009.

	A common theme underlying all of the Confederate Veterans' claims is that appellees
acted without lawful authority in removing the original plaques and installing the new plaques. 
Although appellees concede that they violated section 2166.501 of the government code by removing
the original plaques and installing the new plaques without obtaining approval of the Texas
Historical Commission, they argue that the trial court lacked jurisdiction to remedy this violation of
law.  We disagree.

	It is well established that Texas district courts are courts of general jurisdiction. 
Dubai Petroleum Co. v. Kazi, 12 S.W.3d 71, 75 (Tex. 2000).  Article V, Section 8 of the Texas
Constitution provides that a district court's jurisdiction "consists of exclusive, appellate, and original
jurisdiction of all actions, proceedings, and remedies, except in cases where exclusive, appellate, or
original jurisdiction may be conferred by this Constitution or other law on some other court, tribunal,
or administrative body."  Tex. Const. art. V, §&nbsp;8.  The government code also provides that district
courts "may hear and determine any cause that is cognizable by courts of law or equity and may grant
any relief that could be granted by other courts of law or equity."  Tex. Gov't Code Ann. §&nbsp;24.008
(West 2004).  As courts of general jurisdiction, Texas district courts enjoy a presumption of subject-matter jurisdiction unless a contrary showing is made.  Dubai, 12 S.W.3d at 75 (quoting 13 Wright
et al., Federal Practice &amp; Procedure §&nbsp;3522, at 60 (1984)); see also Dean v. State ex rel. Bailey, 30
S.W. 1047, 1048 (Tex. 1895) ("No other court having jurisdiction over the cause, the district court
has the power to determine the rights of the case and to apply the remedy.").


	1.	Texas Natural Resources Code, Chapter 191 and Texas Government Code, Chapters 442,
551, and 2165


	On appeal, appellees do not dispute the Confederate Veterans' allegations of
jurisdiction under chapter 191 of the Texas Natural Resources Code or chapters 442, 551, and 2165
of the Texas Government Code.  See Tex. Nat. Res. Code. Ann. §§&nbsp;191.002, .051, .092, .093, .097,
.132(b), .173(a); Tex. Gov't Code Ann. §§&nbsp;442.006, .012, 551.002, .141,&nbsp;2165.255.  Nor do appellees
plead or attempt to prove that these particular jurisdictional allegations were fraudulently made in
order to confer jurisdiction upon the district court.  See City of Austin, 30 S.W.3d at 593.  Absent a
contrary showing, we thus presume that the district court has jurisdiction over Confederate Veterans'
claims under chapter 191 of the natural resources code and chapters 442, 551 and 2165 of the
government code.  See Dubai, 12 S.W.3d at 75; Peek, 779 S.W.2d at 804.


	2.	Texas Government Code, Chapter 2166 

	The Confederate Veterans also assert jurisdiction under chapter 2166 of the
government code.  See Tex. Gov't Code Ann. §§&nbsp;2166.501, .5011.  Specifically, the Confederate
Veterans allege that appellees' removal of the original plaques and installation of the new plaques
violated section 2166.501(d) because appellees failed to get approval from the Texas Historical
Commission as required in the statute.  See Tex. Gov't Code Ann. §&nbsp;2166.501(d) (West 2000). 
Although appellees concede that "[t]he new plaques were installed without the approval of the Texas
Historical Commission, in violation of Sec. 2166.501," appellees contend that the district court was
without jurisdiction to remedy this alleged violation of law because sections 2166.501 and
2166.5011 of the Texas Government Code oust the district court of jurisdiction to award the relief
sought by the Confederate Veterans--namely, removal of one of the new plaques and re-installation
of the two original plaques.

	Appellees' argument required the district court to consider the effects, if any, of
sections 2166.501 and 2166.5011 on its own jurisdiction.  This question is a matter of statutory
construction, which we review de novo.  See City of Garland v. Dallas Morning News, 22 S.W.3d
351, 357 (Tex. 2000).  In construing these two statutes, our primary goal is to determine and give
effect to the legislature's intent.  City of San Antonio v. City of Boerne, 111 S.W.3d 22, 25 (Tex.
2003).  We begin with the plain language of the statute at issue and apply its common meaning.  Id. 
To determine legislative intent, we look to the statute as a whole, as opposed to isolated provisions. 
State v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002).

	Enacted in 1995, (10) section 2166.501 states:


(a)	A monument or memorial for Texas heroes of the Confederate States of
America or the Texas War for Independence or to commemorate another event
or person of historical significance to Texans and this state may be erected on
land owned or acquired by the state or, if a suitable contract can be made for
permanent preservation of the monument or memorial, on private property or
land owned by the federal government or other states.


(b)	The graves of Texans described by Subsection (a) may be located and marked.


(c)	The commission shall maintain a monument or memorial erected by this state
to commemorate the centenary of Texas' independence.

 

(d)	Before the erection of a new monument or memorial, the commission must
obtain the approval of the Texas Historical Commission regarding the form,
dimensions, and substance of, and inscriptions or illustrations on, the monument
or memorial.



Tex. Gov't Code Ann. §&nbsp;2166.501.  Four years later, the legislature enacted section 2166.5011. (11) 
This provision states:


(a)	In this section, "monument or memorial" means a permanent monument,
memorial, or other designation, including a statue, portrait, plaque, seal, symbol,
building name, or street name, that:


	(1)	is located on state property; and


	(2)	honors a citizen of this state for military or war-related service.

 

(b)	Notwithstanding any other provision of this code, a monument or memorial may
be removed, relocated, or altered only:


	(1)	by the legislature;


	(2)	by the Texas Historical Commission;


	(3)	by the State Preservation Board; or


	(4)	as provided by Subsection (c).


(c)	A monument or memorial may be removed, relocated, or altered in a manner
otherwise provided by this code as necessary to accommodate construction,
repair, or improvements to the monument or memorial or to the surrounding
state property on which the monument or memorial is located. Any monument
or memorial that is permanently removed under this subsection must be
relocated to a prominent location.



Tex. Gov't Code Ann. §&nbsp;2166.5011.

	Neither section 2166.501 nor section 2166.5011 addresses the district court's
jurisdiction to decide the controversy at hand--i.e., whether appellees acted without authority or
violated existing law by removing the original plaques and installing the new plaques or whether an
appropriate remedy is available for these allegations.  The plain language of these statutes does not
reference the terms "court" or "jurisdiction" and does not speak to the district court's inherent
jurisdiction.  See id. §§&nbsp;2166.501, .5011.  Moreover, the supreme court has recognized that:


a court, once having obtained jurisdiction of a cause of action as incidental to its
general jurisdiction, may exercise any power, or grant any writ, including the writ of
injunction, necessary to administer justice between the parties to preserve the subject
matter of the litigation, and make its judgment effective.



City of Dallas v. Wright, 36 S.W.2d 973, 975 (Tex. 1931).  Accordingly, we conclude that neither
section 2166.501 nor section 2166.5011 divests the district court of jurisdiction to consider the
Confederate Veterans' claims or to determine what remedy, if any, may be appropriate under existing
law.  See id.; see also Dubai, 12 S.W.3d at 75; Tex. Const. art. V, §&nbsp;8.


	3.	Texas Civil Practices &amp; Remedies Code, Chapter 37 (UDJA)

	The Confederate Veterans also assert jurisdiction and seek declaratory relief under
the UDJA.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§&nbsp;37.001-.009.  Appellees respond that the
UDJA is a remedial statute that does not confer jurisdiction on the district court absent an underlying
cause of action.

	The Supreme Court has recognized that private parties may invoke the UDJA to seek
declaratory relief against state officials who allegedly act without legal or statutory authority.  See
Texas Natural Res. Conservation Comm'n v. IT-Davy, 74 S.W.3d 849, 855 (Tex. 2002); Texas Educ.
Agency v. Leeper, 893 S.W.2d 432 (Tex. 1994).  In their fourth amended petition, the Confederate
Veterans allege that the appellees acted without the approval of the Texas Historical Commission
or any other state agency before removing the original plaques from the lobby of the Supreme Court
Building and that this action was taken without legal authority in violation of section 191.132 of the
natural resources code and section 2166.501 of the government code. (12)  See Tex. Nat. Res. Code
Ann. §&nbsp;191.132; Tex Gov't Code Ann. §&nbsp;2166.501.  Because we are bound to accept these
jurisdictional allegations as true in the absence of a showing to the contrary, we conclude that the
district court had jurisdiction to entertain the Confederate Veterans' claims for declaratory relief.


	4.	Texas Constitution

	Having concluded that the district court had jurisdiction to consider the Confederate
Veterans' claims under Chapter 191 of the natural resources code, and chapters 442, 551, 2165, and
2166 of the government code, as well as the Confederate Veterans' claims for declaratory relief
under the UDJA, we find it unnecessary to reach the question of the district court's jurisdiction under
the Texas Constitution.  See Atmos Energy Corp. v. Abbott, 127 S.W.3d 852, 857 (Tex.
App.--Austin 2004, no pet.) (recognizing the general practice that courts should avoid deciding any
constitutional question unless necessary for its decision).


Motion to Reconsider and Summary Judgment

	In their second and third issues, the Confederate Veterans claim that the district court
erred in denying their motion to reconsider and their second motion for summary judgment.  In light
of our disposition of the Confederate Veterans' first issue and the meager record, we do not reach
the Confederate Veterans' other issues.  See Tex. R. App. P. 47.1 (opinion to be as brief as
practicable to decide issues necessary to final disposition).


CONCLUSION


	Having determined that the district court had subject-matter jurisdiction to consider
the Confederate Veterans' claims, we reverse the order of dismissal for want of subject-matter
jurisdiction and remand this case to the district court for further proceedings.


					__________________________________________

					Jan P. Patterson, Justice

Before Justices B. A. Smith, Patterson and Puryear

Reversed and Remanded

Filed:   July 28, 2006

1.   Although appellees assert in their brief that Denne Sweeney was removed as a plaintiff in
July 2002, the record indicates that Sweeney was included as a plaintiff in the fourth amended
petition filed November 26, 2003, and in the notice of appeal filed April 12, 2004.  Because there
is no entry on the docket sheet confirming the district court's removal of Sweeney as a plaintiff in
these proceedings, for purposes of this appeal, we consider Sweeney to be properly included as an
appellant.
2.   We refer to the appellants collectively as "Confederate Veterans."
3.   We substitute Chief Justice Wallace Jefferson, in his administrative capacity, as successor
to Thomas Phillips, Chief Justice of the Texas Supreme Court, and Edward Johnson, in his official
capacity, as successor to Randall Riley, Executive Director of the Texas Building and Procurement
Commission, as the proper parties on appeal.  See Tex. R. App. P. 7.
4.   This plaque was hung on the southeast lobby wall of the Supreme Court Building.
5.   This plaque was hung on the northeast lobby wall of the Supreme Court Building.
6.   At the time the plaques were removed, the Building and Procurement Commission was
known as the General Services Commission.  See Act of May 27, 2001, 77th Leg., R.S., ch. 1422,
§&nbsp;1.02, 2001 Tex. Gen. Laws 5021, 5021 (abolishing General Services Commission and transferring
its functions to newly created Building and Procurement Commission).  Consistent with this change,
we refer to the Commission by its present name throughout the remainder of this opinion.
7.   To the extent that appellees contend we must presume that there is evidence in the record
to support the trial court's order in light of the Confederate Veterans' failure to bring forward a
reporter's record, or statement of facts, we note that the Confederate Veterans' need only present a
sufficient record to show reversible error.  See Pope v. Stephenson, 787 S.W.2d 953, 954 (Tex.
1990).  A reporter's record may not be necessary for review of pure questions of law.  See Segrest
v. Segrest, 649 S.W.2d 610, 611 (Tex. 1983).
8.   The Antiquities Code is codified in chapter 191 of the Texas Natural Resources Code.  See
Tex. Nat. Res. Code Ann. §&nbsp;191.001 (West 2001).  We refer to the natural resources code unless
otherwise noted.
9.   As alleged by the Confederate Veterans, the status quo ante is the situation that existed
prior to the appellees' execution of the routine maintenance request--namely, the return of the
original plaques to the lobby of the Supreme Court Building.  See Black's Law Dictionary 1420 (7th
ed. 1999).
10.   Act of Apr. 21, 1995, 74th Leg., R.S., ch. 41, §&nbsp;1, 1995 Tex. Gen. Laws 324, 395.
11.   Act of May 15, 2001, 77th Leg., R.S., ch. 377, §&nbsp;7, 2001 Tex. Gen. Laws 700, 703.
12.   Although we do not address the merits of the Confederate Veterans' claims in this appeal, 
we note that appellees concede the new plaques were installed without obtaining approval from the
Texas Historical Commission.

